                               UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                     RALEIGH DIVISION

                                                                      )
   W CHAPPELL MUSIC CORP. d/b/a WC MUSIC                              )   Civil Action No.
   CORP.,                                                             )
                                                                      )
                                                         Plaintiff,   )
                                                                      )
       -against-                                                      )    COMPLAINT
                                                                      )
   LONERIDER BREWING COMPANY, SUMIT                                   )
   VOHRA, MIHIR PATEL, and STEVEN                                     )
   KRAMLING,                                                          )
                                                                      )
                                                     Defendants.      )




                   Plaintiff, by its undersigned attorneys, allege:

                   1.    This is a suit for copyright infringement under Title 17 of the United States

Code.

                   2.    This Court has jurisdiction pursuant to 28 U.S.C. II 1338(a), and venue in this

District is proper pursuant to 28 U.S.C. II 1400(a).

                   3.    Plaintiff alleges three (3) causes of action for copyright infringement based
on the Defendants'ublic performances of Plaintiffs copyrighted musical compositions.

SCHEDULE A, annexed to the Complaint and incorporated herein by reference, sets forth in

summary form the allegations hereinafter made with respect to Plaintiff, its copyrighted musical

compositions, and Defendants'cts of infringement.

                                              THE PARTIES
                   4.   The Plaintiff named in Column 2 is the owner of the copyrights in the works

listed in Column 3.




'll   references to "columns" herein refer to the numbered columns set forth in SCHEDULE A.



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                 5.    On information and belief, defendant Lonerider Brewing Company ("LBC"),

is a corporation organized under the laws of North Carolina, with a principal place of business

located at 8816 Gulf Court, Suite 100, Raleigh, North Carolina 27617.

                 6.     At all times hereinafter mentioned LBC did, and still does, own, control, man-

age, operate, and maintain a place of business for public entertainment, accommodation,

amusement, and refreshment known as Lonerider Brewing Company ("Lonerider"), located at

8816 Gulf Court, Suite 100, Raleigh, North Carolina 27617.

                 7.    Musical compositions were and are publicly performed at Lonerider.

                 8.     On information and belief, defendant Sumit Vohra ("Vohra") is an individual

who resides or does business in this District.

                 9.    On information and belief, defendant Mihir Patel ("Patel") is an individual

who resides or does business in this District.

                 10.   On information and belief, defendant Steven Kramling ("Kramling'* and,

together with LBC, Vohra and Patel, the "Defendants" ) is an individual who resides or does
business in this District.

                 11.   On information and belief, Vohra, Patel, and Kramling are officers and/or

owners of LBC.

                 12.   At all times hereinafter mentioned, Vohra, Patel, and Kramling were, and still

are, responsible for the control, management, operation, and maintenance of the affairs of LBC.

                 13.   At all times hereinafter mentioned, Defendants jointly had, and still have, the

right and ability to supervise and control the activities that take place at Lonerider, including the
right and ability to supervise and control the public performance of musical compositions at the
establishment.

                 14.   Each Defendant derives a direct financial benefit from the public

performance of musical compositions at Lonerider.




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                FACTS SPECIFIC TO DEFENDANTS'NFRINGEMENT OF
                PLAINTIFF'S COPYRIGHTED MUSICAL COMPOSITIONS
                15.   Plaintiff is a member of the American Society of Composers, Authors, and
Publishers ("ASCAP"), a membership association that represents, licenses, and protects the public

performance nghts of its more than 875,000 songwriter, composer, and music publisher members.

                16.   Each ASCAP member grants to ASCAP a non-exclusive right to license the

performing rights in that member's copyrighted musical compositions. On behalf of its members,
ASCAP licenses public performances of its members'usical works, collects license fees

associated with those performances, and distributes royalties to its members, less ASCAP's

operating expenses.

                17.   In undertaking the conduct complained of in this action, Defendants

knowingly and intentionally violated Plaintiffs rights. Defendants'nowledge and intent are
established by the following facts:


                      (a)   Defendants entered into a license agreement with ASCAP, effective

November 1, 2016.

                      (b) Defendants, however, failed to pay license fees as required by the license

agreement.

                      (c) Because of Defendants'ailure to pay license fees due, on December 31,

2021, upon written notice, ASCAP terminated the agreement for material breach.

               18.    Since termination of the Lonerider ASCAP license, ASCAP has attempted

to contact the Defendants, or their representatives, agents, or employees, to offer to relicense

Lonerider, upon payment of the outstanding fees owed to ASCAP.

               19.    Defendants have refused all of ASCAP's offers to relicense Lonerider.




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               20.    ASCAP's various communications offering to relicense Lonerider gave

Defendants notice that unauthorized performances of ASCAP's members'usical compositions

at Lonerider constitute copyright infringement.

               21.       Notwithstanding the foregoing, Defendants have continued to present

public performances of the copyrighted musical compositions of ASCAP members at Lonerider,

including the copyrighted works involved in this action, without permission, during the hours that

the establishment is open to the public for business and presenting musical entertainment.

               22.   The original musical compositions listed in Column 3 were created and

written by the persons named in Column 4.

               23.   The original musical compositions listed in Column 3 were published on the

dates stated in Column 5, and since the dates of their respective publications, have been printed

and published in conformity with Title 17 of the United States Code.

               24.   The Plaintiff named in each cause of action, including its predecessors in

interest, if any, complied in all respects with Title 17 of the United States Code, secured the

exclusive rights and privileges in and to the copyright of each composition listed in Column 3, and

received from the Register of Copyrights a Certificate of Registration, identified as set forth in

Column 6.

               25.    Defendants on the dates specified in Column 7, and upon information and

belief, at other times prior and subsequent thereto, infringed the copyright in each composition

named in Column 3 by performing publicly compositions at Lonerider, for the entertainment and

amusement of the patrons attending said premises, and Defendants threaten to continue such in-

fringing performances.




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                26.   The public performances at Lonerider of Plaintiff's copyrighted musical

compositions on the dates specified in Column 7 were unauthorized: neither Defendants, nor any

of the Defendants'gents, servants or employees, nor any performer was licensed by, or otherwise

received permission from Plaintiff, or any agent, servant, or employee of Plaintiff, to give such

performances.

                27.   In undertaking the conduct complained of in this action, Defendants

knowingly and intentionally violated Plaintiff s rights.

                28.   The many unauthorized performances at Lonerider include the performances

of the three copynghted musical compositions upon which this action is based.

                29.   At the times of the acts of infringement complained of, Plaintiff, named in

each cause of action, was an owner of the copyright in the composition therein named.

                29.   The said wrongful acts of the Defendants have caused and are causing great

injury to Plaintiff, which damage cannot be accurately computed, and unless this Court restrains

the Defendants from the further commission of said acts, Plaintiff will suffer irreparable injury,

for all of which Plaintiff is without any adequate remedy at law.


                WHEREFORE, Plaintiff prays:

                I.    That Defendants and all persons acting under the direction, control,

permission, or authority of Defendants be enjoined and restrained permanently from publicly

performing the aforementioned compositions — or any of them — and from causing or permitting
the said compositions to be publicly performed at Lonerider, or in any place owned, controlled or

conducted by Defendants, and from aiding or abetting the public performance of such

compositions in any such place or otherwise.
              II.     That Defendants be decreed to pay such statutory damages as to the Court
shall appear just, as specified in 17 U.S.C. $ 504(c)(1), namely, not more than Thirty Thousand




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Dollars ($ 30,000) nor less than Seven Hundred And Fifty Dollars ($ 750) in each cause of action

herein.

                III.   That Defendants be decreed to pay the costs of this action and that a

reasonable attorney's fee be allowed as part of the costs.

                IV.    For such other and further relief as may be just and equitable.



          Respectfully submitted this 17th day of October, 2023.


                                                Is/ Michael J Allen
                                               Michael J. Allen
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                                               Attorney for Plaintiff




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                                                 Schedule A

Columns
I          2
                                                                                           Certificate of
Cause of                        Musical                                Date of             Registration     Date of Knoivn
Action     Plamtiff             Com osition       Writers              Pub hcation         Number           Infrin ement

           W CHAPPELL MUSIC     TOO BRIGHT TO     Grant Brandell       September 2, 2008   PA 1-919-277     July 15, 2023
           CORP. dba WC MUSIC   SEE, TOO LOUD
           CORP.                TO HEAR           Wilham S
                                                  Chamberlain

                                                  Christopher Dudley

                                                  Timothy McTague

                                                  James Smith

2          W CHAPPELL MUSIC     MY OWN            Stephen Carpenter    October 28, 1997    PA 870-906       July 15, 2023
           CORP. dba WC MUSIC   SUMMER (SHOVE
           CORP.                IT)               Chi Cheng

                                                  Abran Cunnmgham

                                                  Camilo C. Moreno


           W CHAPPELL MUSIC     INDESTRUCTIBLE    Dan J. Donegan       June 3, 2008        PA 1-697-227     July 15, 2023
           CORP, dba WC MUSIC
           CORP.                                  David M Draiman

                                                  Michael Wengren




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